On January 6, 1994, appellee, Terry Edward Keig, pled guilty to one count of attempted rape, in violation of R.C.2923.02(A) and 2907.02(A)(1)(b). On March 21, 1994, the Ashtabula County Court of Common Pleas sentenced appellee to an indefinite term of incarceration of six to fifteen years. Having pleaded guilty to a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
In a letter dated March 31, 1997, the Ohio Department of Rehabilitation and Correction recommended that appellee be adjudicated a sexual predator. Following the scheduling by the trial court of a hearing to determine if appellee was, in fact, a sexual predator, appellee filed a motion to dismiss. Specifically, appellee argued that Ohio's version of Megan's Law was unconstitutional as applied to him. By judgment entry filed February 5, 1998, the trial court granted appellee's motion. Appellant appealed, and, pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the judgment of the trial court is affirmed.
                                      ------------------------ JUDGE WILLIAM M. O'NEILL
FORD, P.J., NADER, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.